        Case 1:24-cv-00617-TJK         Document 18       Filed 09/02/24     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JOHN DOE,

                Plaintiff,

        v.
                                                         Civil Action No. 24-0617 (TJK)
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT,

                Defendant.


                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant hereby moves for summary judgment pursuant to Rule 56 of the Federal Rules

of Civil Procedure. In support of this motion, Defendant respectfully refers the Court to the

accompanying memorandum of law, statement of undisputed material facts, declaration, and

exhibits. A proposed order is also attached.



Dated: September 2, 2024                       Respectfully submitted,
       Washington, DC
                                               MATTHEW M. GRAVES, D.C. Bar #481052
                                               United States Attorney

                                               BRIAN P. HUDAK,
                                               Chief, Civil Division


                                               By: /s/ Fithawi Berhane
                                                   FITHAWI BERHANE
                                                   Assistant United States Attorney
                                                   601 D Street NW
                                                   Washington, DC 20530
                                                   (202) 252-6653
                                                   Fithawi.Berhane@usdoj.gov

                                               Attorneys for the United States of America
